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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF
                                TEXAS SHERMAN DIVISION

 George Morris

 Plaintiff,
 vs.
                                                            Cause No. 4:16-cv-208

 Restored Investments, LLC;
 Pella Corporation

 Defendants.


                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff George Morris and Defendants Restored Investments, LLC and Pella Corporation

 (collectively, the "Parties") file this Agreed Stipulation of Dismissal With Prejudice. The Parties

 have conferred and mutually agree to dismiss any and all of Plaintiff's Claims and Defendants’

 counter-Claims pending or arising in connection with the Morris Action WITH PREJUDICE.

         Plaintiff and Defendants respectfully request that the Court sign and enter the Agreed Order

 of Dismissal with Prejudice filed contemporaneously herewith.
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                                           Respectfully submitted,


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                                           Plaintiff
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                                CERTIFICATE OF SERVICE

   I certify that on September 20, 2016, the foregoing document and all associated Exhibits were
   served via email on:

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